                Case 1:24-cv-03109-JLR               Document 66-1               Filed 04/28/24          Page 1 of 2

         UNITED STATES DISTRICT COURT 
         SOUTHERN DISTRICT OF NEW YORK 
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            _________________________________ x
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        
         IN THE MATTER OF AN APPLICATION 
         TO BRING PERSONAL ELECTRONIC DEVICE(S) OR
         GENERAL PURPOSE COMPUTING DEVICE(S) INTO
         THE COURTHOUSES OF THE 
         SOUTHERN DISTRICT OF NEW YORK FOR 
         USE IN A PROCEEDING OR TRIAL 
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            _________________________________ x
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                 The following Order is subject to the definitions, obligations and restrictions imposed pursuant to 
         Standing Order M10-468, as Revised. Upon submission of written application to this Court, it is hereby 

                  ORDERED that the following attorney(s) are authorized to bring the Personal Electronic Device(s) and/
         or the General Purpose Computing Device(s) (collectively, "Devices") listed below into the Courthouse for use in
         a proceeding or trial in the action captioned: 
        Federal Trade Commission v. Tapestry, Inc., et al., Case No. 1:24-cv-03109-JLR
        __________________________________________________________________________________________. 

                  ORDERED that for the device(s) checked below SDNY Courtroom WI-FI access shall be provided. 
                                                                                  April 29, 2024
                   The date(s) for which such authorization is provided is (are)_______________________.       
                    Attorney                             E-Mail                           Device(s)         Courtroom        WIFI
                                                                                                                              Granted 

                                                                                                                                
             Alfred C. Pfeiffer          Al.Pfeiffer@lw.com                           cell phone; laptop           23B          Y
                                                          
                                                                                                                                
             Amanda P. Reeves           Amanda.Reeves@lw.com                        cell phone; laptop         23B              Y
                       
                        
            Lindsey S. Champlin                                                                                                  
                                        Lindsey.Champlin@lw.com                       cell phone; laptop      23B               Y
                        
                                                   (Attach Extra Sheet If Needed) 
    
                  The attorney(s) identified in this Order must present a copy of this Order when entering the
        Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs constitutes a certification by
        the attorney that he or she will comply in all respects with the restrictions and obligations set forth in Standing
        Order M10-468, as Revised. 
         
                           SO ORDERED: 
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Dated:                                         
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         
                                                                                                                                
                                                                                    United States Judge 


        Revised: July 1, 2019. 
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Extra Sheet –

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

_____________________________________________________x


IN THE MATTER OF AN APPLICATION

TO BRING PERSONAL ELECTRONIC DEVICE(S) OR
GENERAL PURPOSE COMPUTING DEVICE(S) INTO
THE COURTHOUSES OF THE
SOUTHERN DISTRICT OF NEW YORK FOR
USE IN A PROCEEDING OR TRIAL
______________________________________________________x

(Federal Trade Commission v. Tapestry, Inc., et al., Case No. 1:24-cv03109-JLR)

 Attorney        E-Mail               Device(s)          Courtroom     WiFi
                                                                       Granted

 Ian R. Conner   Ian.Conner@lw.com cell phone; laptop       23B           Y
